AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
         V.                                                            (For Offenses Committed On or After November 1, 1987)


JENA CAUDLE                                                            Case Num ber: DNCW 505CR000032-004
                                                                       USM Num ber: 20350-058

                                                                       Elizabeth Blackwood
                                                                       Defendant’s Attorney


THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 1, 7, 8. 9, 10, 11 & 12 of the term of supervision.
         W as found in violation of condition(s) count(s)            After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                              Date Violation
 Violation Num ber               Nature of Violation                                          Concluded

 1                               New law violation                                            9/1/2008

 7                               Drug/alcohol use                                             1/15/2009

 8                               Failure to report change in residence                        1/7/2009

 9                               Failure to com ply with drug testing/treatm ent              1/12/2009
                                 requirem ents

 10                              Association with convicted felons                            2/17/09

 11                              New law violation                                            2/17/2009

 12                              New law violation                                            4/10/2009

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Violation num bers 2, 3, 4, 5 & 6 are dism issed upon m otion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                       Date of Im position of Sentence: January 11, 2010

                                                                          Signed: January 19, 2010




               Case 5:05-cr-00032-RLV-CH                   Document 184         Filed 01/19/10          Page 1 of 2
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation



Defendant: JENA CAUDLE                                                                                Judgm ent-Page 2 of 2
Case Num ber: DNCW 505CR000032-004

                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of NINE (9) MONTHS.

NO RESIDUAL SUPERVISED RELEASE TO FOLLOW TERM OF IM PRISONM ENT.

 X       The Court m akes the following recom m endations to the Bureau of Prisons:

        That defendant be designated to Mecklenburg County’s Jail Central or to a facility as close to her hom e in Yadkin
        County, as possible.

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




               Case 5:05-cr-00032-RLV-CH                   Document 184     Filed 01/19/10      Page 2 of 2
